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                                  7                                 UNITED STATES DISTRICT COURT
                                  8                            NORTHERN DISTRICT OF CALIFORNIA
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                                         ARNOLD JAQUEZ,                                      Case No. 21-cv-09505-NC
                                  11
                                                       Plaintiff,                            ORDER DISMISSING CASE
Northern District of California




                                  12                                                         WITHOUT PREJUDICE FOR
 United States District Court




                                                v.                                           FALIURE TO PROSECUTE
                                  13
                                         GRANITE ROCK COMPANY,
                                  14
                                                       Defendant.
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                                  17          On May 25, 2022, the Court held a case management conference in this case.
                                  18   Despite the Court’s warning to Plaintiff that “if he does not appear at the case management
                                  19   conference, the Court will dismiss this case without prejudice for failure to prosecute,”
                                  20   Plaintiff did not appear. ECF 25 at 1–2 (citing Fed. R. Civ. P. 41(b)). Accordingly, the
                                  21   Court DISMISSES this case, without prejudice, for Plaintiff’s failure to prosecute.
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                                  23          IT IS SO ORDERED.
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                                  25   Dated: May 25, 2022                       _____________________________________
                                                                                       NATHANAEL M. COUSINS
                                  26                                                   United States Magistrate Judge
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